      Case MDL No. 3089 Document 51-1 Filed 10/04/23 Page 1 of 2




                        UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


IN RE: ORAL PHENYLEPHRINE
                                           MDL No. 3089
MARKETING AND SALES PRACTICES
LITIGATION


                        SCHEDULE OF RELATED ACTIONS

         Plaintiff(s)       Defendants        District       Case       Judge
                                              Division      Number
1.   •     Natasha          •   Kenvue      N.D. Cal.     3:23-cv-   Hon. Trina
           Hernandez            Inc.                      04817      L. Thompson
                            •   McNeil
                                Consumer
                                Healthcare;
                            •   Johnson &
                                Johnson
                                Consumer,
                                Inc.
2.   •     Jordan Nelson    •   Kenvue,     N.D. Cal.     4:23-cv-   Hon.
     •     Regina               Inc.                      04875      Haywood S.
           Peralta          •   McNeil                               Gilliam, Jr.
                                Consumer
                                Healthcare;
                            •   Johnson &
                                Johnson
                                Consumer,
                                Inc.
                            •   CVS
                                Pharmacy,
                                Inc.
                            •   Haleon US
                                Capital
                                LLC
                            •   GSK Plc
                            •   Albertsons
                                Companies,
                                Inc.
                            •   Target
                                Corporation
Case MDL No. 3089 Document 51-1 Filed 10/04/23 Page 2 of 2




                 •   Walmart
                     Inc.
                 •   Perrigo
                     Company
                     Plc
